      Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 1 of 9 PAGEID #: 1706




                          UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF OHIO
                               WESTERN DIVISION

UNITED STATES OF AMERICA,                      :       Case No. 1:20-cr-77
                                               :
vs.                                            :       Judge Timothy S. Black
                                               :
MATTHEW BORGES (4),                            :
                                               :
       Defendant.                              :

                    ORDER CONDITIONALLY GRANTING
             DEFENDANT BORGES’ MOTION FOR RELIEF FROM THE
              GOVERNMENT’S TIER 3 DISCOVERY DESIGNATIONS

          This criminal case is before the Court on Defendant Matthew Borges’ motion for

relief from the Government’s Tier 3 designation of certain discovery (Doc. 91) and the

parties’ responsive memoranda (Docs. 95, 97, 99).1 The Court also has before it both the

initial Protective Order and the Amended Protective Order that give rise to the instant

motion. (Docs. 47, 77).

                                     I. BACKGROUND

          On July 30, 2020, a federal Grand Jury returned a single-count Indictment,

charging Defendant Matthew Borges and five co-defendants with participating in a

Racketeer Influenced and Corrupt Organizations (“RICO”) conspiracy, in violation of 18

U.S.C. § 1962(d). (Doc. 22). To date, three of the named co-defendants—Jeffrey

Longstreth, Juan Cespedes, and Generation Now—have pleaded guilty to the charge



1
  Docs. 95 and 97 are, respectively, the redacted and unredacted versions of the Government’s
response in opposition. The unredacted response contains information subject to the Protective
Order and was therefore filed under seal. (Doc. 97).
    Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 2 of 9 PAGEID #: 1707




(Min. Entries, Oct. 29, 2020, Feb. 9, 2021), and Defendant Clark has died (Doc. 88).2

Thus, Defendants Borges and Householder are the only remaining, unresolved defendants

in this case.

        The discovery involved in this case is voluminous, and the Government has been

producing the discovery, on a rolling basis, since August 2020. (See Min. Entry, Sep. 9,

2020). On August 14, 2020, the Court issued a Protective Order Regarding Discovery

(Doc. 47), which Protective Order was later amended on February 4, 2021 (Doc. 77).3

Among other things, the Amended Protective Order requires the Government to designate

discovery items into certain categories—Tier 1, Tier 2, Tier 3, or Tier 3 (Attorneys’ Eyes

Only)—and imposes certain limitations on the defense’s use or dissemination of

discovery materials, depending on the category of designation. (Doc. 77 at 2-4). The

Amended Protective Order further provides that “[i]f the parties cannot agree on a

designation of any of the Discovery Materials, the defendant, through counsel of record,

may seek relief from the government’s designation (or a re-designation) as to a particular

item of discovery by filing a motion with the Court,” but Defendant must first confer with

the Government and attempt to resolve the dispute informally before seeking the Court’s

intervention. (Id. at 3, ¶ 13).



2
 Defendants Longstreth, Cespedes, and Generation Now are awaiting sentencing (Min. Entries,
Oct. 29, 2020, Feb. 9, 2021). The case as to Defendant Clark was dismissed following his death.
(Doc. 88).
3
 The Amended Protective Order merely added a sub-category of Tier 3 discovery, which sub-
category has no bearing on the instant motion. (Compare Doc. 47, with Doc. 77). Nevertheless,
as the Amended Protective Order is now the operative document, the Court will refer to the
Amended Protective Order for purposes of this Order.

                                               2
    Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 3 of 9 PAGEID #: 1708




        On September 2, 2020, the Government produced certain items of discovery

relating to CHS-1 (“the CHS-1 discovery”). (Doc. 91 at 3). CHS-1 was a confidential

source/witness, who has since publicly disclosed CHS-1’s own identity.4 (Id. at 3-4). At

the time of production, the Government designated the CHS-1 discovery as “Tier 3”

discovery material. (Id.) It is this Tier 3 designation of the CHS-1 discovery that

Defendant now seeks to amend.

        Under the Amended Protective Order, Tier 3 documents are defined as: “sensitive

materials or information that involve, refer, or relate to sensitive investigatory techniques

or information the disclosure of which would reveal the sensitive investigative methods

used by law enforcement in complex corruption investigations and/or identify or reveal

information about other individuals, investigations, or witnesses.” (Doc. 77 at 2, ¶ 4).

And the Amended Protective Order limits dissemination of Tier 3 documents, as follows:

               Tier 3 Discovery Materials may be shared with members of the
               Defense Team [(i.e., the defendant, defense counsel of record
               and counsel’s office staff, and experts, consultants, and
               investigators retained to assist in the preparation of the
               defense)]. Tier 3 Discovery Materials shall not be further
               disseminated by any member of the Defense Team to any
               individuals, organizations, or other entities.

(Id. at 3-4, ¶¶ 7, 11).

        On October 6, 2021, Defendant, through counsel, contacted the Government to

seek re-designation of the CHS-1 discovery from Tier 3 to Tier 1, so as to allow the

defense to reference the materials in future motions. (Doc. 95 at 3). Notably, Tier 1


4
  Although CHS-1’s identity is now publicly available, the parties continue to refer to the
individual as CHS-1 in their pleadings, and the Court will do the same in this Order.

                                                 3
    Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 4 of 9 PAGEID #: 1709




documents are defined under the Amended Protective Order as “materials that were

largely obtained through publicly available sources,” and “Tier 1 Discovery Materials

may be disseminated by the Defense Team without limitation.” (Doc. 77 at 2-3, ¶¶ 2, 9).5

         The Government responded to Defendant’s October 6, 2021 request, noting that

the CHS-1 discovery does not meet the definition of a Tier 1 document and, further,

explaining that the Amended Protective Order allows for Tier 3 materials to be

referenced in filings. (Doc. 95 at 3). The Government also asked defense counsel to

explain how the Tier 3 designation prejudices the defense; however, the Government

represents that Defendant filed the instant motion in lieu of responding to its inquiry.

(Id.)6




5
 Although the Amended Protective Order states that Tier 1 documents may be disseminated
“without limitation,” the Amended Protective Order also states that:

               All Discovery Materials are to be provided to counsel of record for
               the defendant, and used by the defendant and the Defense Team
               solely for the purpose of allowing the defendant to prepare his
               defense. The defendant and Defense Team shall not make, or
               participate in the making of, any extrajudicial disclosure of
               Discovery Materials for dissemination by means of public
               communication, unless such materials are (or become) public record
               ….

(Doc. 77 at 5, ¶ 17). Thus, Tier 1 documents may be disseminated “without limitation” only so
long as the dissemination serves the purpose of trial preparation.
6
  The Court has not seen the parties’ October 6, 2021 communications and must therefore rely on
the Government’s representation. And based on the Government’s representation of Defendant’s
communication, Defendant has failed to engage in a good faith effort to resolve the designation
dispute before seeking the Court’s intervention. The Court could deny the instant motion on that
basis alone. However, for the sake of efficiency, and out of respect for the parties’ time, the
Court will address the motion on the merits, assuming that both sides will be equally considerate
of the Court’s time, should a similar issue arise in the future.

                                               4
    Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 5 of 9 PAGEID #: 1710




                               II. STANDARD OF REVIEW

        “[T]he trial court can and should, where appropriate, place a defendant and his

counsel under enforceable orders against unwarranted disclosure of the materials which

they may be entitled to inspect.” Alderman v. United States, 394 U.S. 165, 185 (1969).

To that end, Federal Rule of Criminal Procedure 16 empowers the Court to issue a

protective order “[a]t any time …, for good cause, [to] deny, restrict, or defer discovery

or inspection, or grant other appropriate relief.” Fed. R. Crim. P. 16(d)(1). To establish

“good cause” under Rule 16(d)(1), the moving party must “show that disclosure will

result in a clearly defined specific and serious injury.’” United States v. Sittenfeld, No.

1:20-cr-142, 2021 WL 1438300, at *3 (S.D. Ohio, Apr. 15, 2021) (collecting cases). “A

challenge to a protective order requires a defendant to demonstrate ‘substantial prejudice’

to overcome the order.” United States v. Montgomery, 592 F. App’x 411, 417 (6th Cir.

2014) (citing United States v. Davis, 809 F.2d 1194, 1210 (6th Cir. 1987)).

                                       III. ANALYSIS

        Defendant moves to re-designate the CHS-1 discovery from Tier 3 to either Tier 2

or Tier 1. (Docs. 91, 99).7 Notably, beyond stating that a lower tier designation would

“better enable[] [Defendant’s] counsel to prepare his defense,” Defendant does not

necessarily argue that the current designation is unduly prejudicial. (Doc. 99 at 4).

Rather, Defendant argues that the CHS-1 discovery does not meet the Tier 3 definition,



7
  Defendant’s initially sought redesignation specifically to Tier 1. (Doc. 91). However, in his
reply, Defendant amended his request, and now just asks that “the CHS-1 discovery materials
[be] re-designated to a lower Tier.” (Doc. 99 at 1).

                                                5
  Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 6 of 9 PAGEID #: 1711




because, under the Amended Protective Order, Tier 3 documents are defined so as to

encompass sensitive materials, the disclosure of which would either reveal law

enforcement’s investigative methods or would identify confidential sources. Defendant

asserts that CHS-1 has already voluntary disclosed the “sensitive” information contained

in the discovery, including CHS-1’s own identity and the methods of assistance given to

law enforcement. (Id.) Under these circumstances, Defendant argues that the

Government has failed to show good cause as to why the CHS-1 discovery should

continue to be incorrectly designated and thus subject to strict prohibitions on

dissemination. (Docs. 91, 99).

       In response, the Government asserts that Defendant has failed to show why the

Tier 3 designation is substantially prejudicial. (Doc. 95). Moreover, the Government

argues that the CHS-1 discovery contains additional sensitive information, beyond

merely the identity of CHS-1 and the investigative methods, and it is that additional

information that continues to necessitate the protections afforded under a Tier 3

designation. (Docs. 95, 97).

       Here, as an initial matter, the Court agrees with the Government that the CHS-1

discovery, by definition, does not constitute Tier 1 material. And indeed, Defendant

acknowledges the same, noting that “[Defendant] agrees that the CHS-1 discovery

materials were not obtained through publicly available sources….” (Doc. 99 at 3). Thus,

re-designation to Tier 1 is not appropriate.

       However, under the specific circumstances presented in this case, and under this

particular Amended Protective Order, the Court disagrees that, in order to seek re-


                                               6
  Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 7 of 9 PAGEID #: 1712




designation, Defendant must first make a showing of “substantial prejudice.” The

requirement for Defendant to show “substantial prejudice” would be applicable if

Defendant were seeking relief from the Court’s Amended Protective Order. In other

words, if the Court had limited Defendant’s right to access or disseminate discovery

materials, Defendant would need to show substantial prejudice in order for the Court to

grant relief from its own Order. However, here, the Court’s Amended Protective Order

merely sets out the tier options. But the Court did not have any role in designating the

CHS-1 discovery as Tier 3—rather, the Government is solely responsible for designating

the tiers applicable to all items of discovery. (Doc. 77 at 6, ¶ 18) (“The government is

responsible for correctly identifying into which of the above categories it believes the

Discovery Materials fall”). Thus, it is the Government’s initial burden to establish that its

own designation is appropriate in the first instance, and only then should the burden shift

to Defendant. Absent the Government showing “good cause,” the designation cannot

stand, and thus Defendant need not show “substantial prejudice” to obtain relief.

       And, here, the Government has represented that the CHS-1 discovery contains

sensitive information, such as personal details and other individuals, the disclosure of

which would serve no legitimate purpose other than to harass or embarrass witnesses.

Thus, good cause exists to justify inclusion of the CHS-1 discovery materials in the

Amended Protective Order and placing some level of enhanced limitations on

dissemination.




                                             7
    Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 8 of 9 PAGEID #: 1713




        At this time, the Court can either leave the CHS-1 discovery in Tier 3 or,

alternatively, re-designate the CHS-1 discovery to a lower tier—specifically, Tier 2.8

And the Court would note that Tier 2 and Tier 3 are remarkably similar in definition and

limitations. That is, Tier 2 discovery includes “materials that are neither Tier 1

Discovery Materials nor otherwise designated as falling into the category of Tier 3

Discovery Materials, [but] which are sensitive [in the same respect as Tier 3].” (Doc. 77

at 2, ¶ 3). And Tier 2 documents have the same limitation on dissemination as Tier 3,

except that Tier 2 documents can be shown to prospective defense witnesses, so long as

the documents are not left in the witnesses’ custody nor are the witnesses permitted to

retain the documents or any copies.

        Given how similar Tiers 2 and 3 are, the Court finds that Tier 2 might be a more

reasonable designation for the CHS-1 discovery, in order to protect the Government’s

interests while not unduly burdening the defense. But the Government’s response in

opposition only addressed the impropriety of Tier 1 for the CHS-1 documents. The

Government has not addressed re-designation to Tier 2.

        Accordingly, the Court intends to re-designate the CHS-1 discovery to Tier 2,

unless the Government gives notice within 7-days of the issuance of this Order that it

opposes such a re-designation and intends to make an offer of proof as to why a Tier 2




8
 The Court could also issue a Second Amended Protective Order to establish a new tier sub-
category, should the need arise.

                                              8
    Case: 1:20-cr-00077-TSB Doc #: 101 Filed: 01/25/22 Page: 9 of 9 PAGEID #: 1714




designation would fail to protect the privacy interests and law enforcement methods

contained within the CHS-1 discovery.9

                                      IV. CONCLUSION

        Based upon the foregoing, Defendant’s motion for relief from the Government’s

Tier 3 designation as to certain discovery (Doc. 91) is CONDITIONALLY GRANTED;

however, enforcement of this Order shall be STAYED for up to 7-days from the date of

issuance. The Court further ORDERS as follows:

        (1) If the Government intends to oppose a Tier 2 re-designation of the CHS-
            1 discovery, the Government SHALL file a notice of intent, within 7-
            days of the issuance of this Order. If such notice is filed, the stay on
            enforcement of this Order shall be automatically EXTENDED,
            pending the Court’s review and resolution of the Government’s
            submission; or

        (2) If, within 7-days of the issuance of this Order, the Government fails to
            give notice of its intent to oppose a Tier 2 designation, or if the
            Government gives notice that is does not intend to oppose the re-
            designation, this Order SHALL take immediate effect, and the CHS-1
            discovery shall be RE-DESIGNATED as Tier 2 discovery, pursuant to
            the Amended Protective Order.

        IT IS SO ORDERED.

Date: 1/25/2022
                                                                 Timothy S. Black
                                                                 United States District Judge




9
  Pursuant to Fed. R. Crim. P. 16(d)(1), the Government may submit its position to the Court ex
parte, if necessary, to protect confidential information. Fed. R. Crim. P. 16(d)(1) (“The court
may permit a party to show good cause by a written statement that the court will inspect ex parte.
If relief is granted, the court must preserve the entire text of the party’s statement under seal”).

                                                 9
